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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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JOHN SAWYER PRESTON, BRIAN
ORENSTEIN, AND JORGE DEYARZA,

                              Plaintiffs,                              11 Civ. 2556 (WHP)

                    -against-                                          ORDER

FT 17 LLC d/b/a VELOCE CLUB, et aI.,

                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

WILLIAM H. PAULEY III, District Judge:

                    For the reasons set forth on the record on February 6,2013, Plaintiffs' motion for

summary judgment is granted in part and denied in part, and Defendants' motion for summary

judgment is denied. The Clerk of Court is directed to terminate the motions pending at ECF

No. 's 47 and 53.

Dated: February 6,2013
       New York, New York

                                                                       SO ORDERED:



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